Case 2:17-cv-00218-RSM   Document 35-1   Filed 02/16/17   Page 1 of 9
Case 2:17-cv-00218-RSM   Document 35-1   Filed 02/16/17   Page 2 of 9
Case 2:17-cv-00218-RSM   Document 35-1   Filed 02/16/17   Page 3 of 9
Case 2:17-cv-00218-RSM   Document 35-1   Filed 02/16/17   Page 4 of 9
Case 2:17-cv-00218-RSM   Document 35-1   Filed 02/16/17   Page 5 of 9
Case 2:17-cv-00218-RSM   Document 35-1   Filed 02/16/17   Page 6 of 9
Case 2:17-cv-00218-RSM   Document 35-1   Filed 02/16/17   Page 7 of 9
Case 2:17-cv-00218-RSM   Document 35-1   Filed 02/16/17   Page 8 of 9




                Exhibit A
Case 2:17-cv-00218-RSM   Document 35-1   Filed 02/16/17   Page 9 of 9
